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Susan E. McNulty

From: Sydney Wolak <SWolak@kin-law.com>

Sent: Thursday, January 05, 2017 4:57 PM

To: Eric Ziporin; Sheileen O'Hayre

Ce: Elizabeth Howard; Andrew McNulty; Dunia Dickey; gglockner@childsmccune.com,
amichalek@childsmccune.com; Tammy Stephenson

Subject: Schwark v. Wegener, et al.- Setting Depositions

Eric:

Could you please check availability for Defendant Canterbury and Swann for January 18"? We would like to
set a deposition for that date given this date works with all our schedules. Upon your final response to Andy’s
recent email, I will send more dates in order to set the rest of the defendants’ depositions.

Thanks,
Sydney

Sydney Wolak | Paralegal

Killmer, Lane & Newman, LLP.
The Odd Fellows Hall

1543 Champa Street, Suite 400
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Ph- 303-571-1000

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EXHIBIT

  
 
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Eric Ziporin

From: Andrew McNulty <AMcNulty@kin-law.com>

Sent: Wednesday, January 04, 2017 10:33 AM

To: Mary Baltz; Ashley Kelliher; Eric Ziporin; Elizabeth Howard; Steve Michalek; Sheileen
O'Hayre; Tina Kizer; Gina Glockner

Ce: David Lane; Sydney Wolak; Dunia Dickey

Subject: Schwark v. Wagner, et al.

Counsel,

We believe it is necessary to move the discovery deadline in this matter for a few reasons. First, given the delays in the
response to our discovery requests, we have not had adequate time to schedule depositions. Second, we have still not
received Kathleen Pearce’s discovery responses. We cannot depose Ms. Pearce until we receive her discovery responses.
The current discovery cut-off is January 23, 2016 and the current dispositive motion deadline is February 22, 2017. We
propose a 60 day extension of the discovery deadline and dispositive motion deadline. If possible, we would like to file
this as a stipulated motion. If that is not amenable to all parties, may we represent to the Court that our motion is
unopposed?

Thanks,

Andy McNulty

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